Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 1 of 31




                  COMPOSITE

                   EXHIBIT 7
             (File Under Seal)
                Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 2 of 31


Sandra Perkins

From:                               Erika Perez
Sent:                               Friday, April 29, 2016 6:19 PM
To:                                 lmenninger@hmflaw.com; jpagliuca@hmflaw.com
Cc:                                 Sigrid McCawley; Meredith Schultz
Subject:                            Giuffre v. Maxwell, Case no. 15-cv-07433-RWS
Attachments:                        2016-04-29 Supp. Response Letter to Counsel re April 25, 2016 Letter.pdf; Releases.pdf;
                                    GIUFFRE5350.pdf; GIUFFRE5351-5353.pdf; GIUFFRE5339-5341.pdf;
                                    GIUFFRE5342-5346.pdf; GIUFFRE5347-5349.pdf; 2016-04-29 Second Amended
                                    Supplemental Responses and Objections.pdf; 2016-04-29 Giuffre's Revised
                                    Supplemental Privilege Log.pdf


Dear Counsel,

Please see attached Correspondence from Sigrid McCawley.

Thank you.

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BOIES, SCHILLER & FLEXNER LLP
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Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 3 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 4 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 5 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 6 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 7 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 8 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 9 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 10 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 11 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 12 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 13 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 14 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 15 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 16 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 17 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 18 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 19 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 20 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 21 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 22 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 23 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 24 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 25 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 26 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 27 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 28 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 29 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 30 of 31
Case 1:15-cv-07433-LAP Document 1198-10 Filed 01/27/21 Page 31 of 31
